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                             No. 22-11172

       In the United States Court of Appeals
               for the Fifth Circuit
             CORNELIUS CAMPBELL BURGESS,
              APPELLEE/CROSS-APPELLANT,
                                 v.
JENNIFER WHANG, in her official capacity as an Administrative Law
Judge; FEDERAL DEPOSIT INSURANCE CORPORATION; MARTIN
  J. GRUENBERG, in his official capacity as Acting Chairman of the
 FDIC; MICHAEL J. HSU, in his official capacity as a Director of the
  FDIC; ROHIT CHOPRA, in his official capacity as a Director of the
                              FDIC,
             APPELLANTS/CROSS-APPELLEES.

           On Appeal from the United States District Court
          for the Northern District of Texas, No. 7:22-cv-100

   AMICUS CURIAE BRIEF OF SEPARATION OF POWERS
  CLINIC IN SUPPORT OF APPELLEE/CROSS-APPELLANT
            CORNELIUS CAMPBELL BURGESS


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            STATEMENT OF INTERESTED PERSONS
                 No. 22-11172 Burgess v. Whang et. al.
      Pursuant to Fifth Circuit Rule 29.2, undersigned counsel of record
certifies that the following listed persons and entities have an interest in
the outcome of this case. These representations are made in order that
the judges of this court may evaluate possible disqualification or recusal.
Arthur E. Anthony
Manuel G. Berrelez
Joseph Brooks
Cornelius Campbell Burgess
Rohit Chopra
James T. Dawson
Federal Deposit Insurance Corporation
Martin J. Gruenberg
Michael A. Heidler
Herring Bancorp, Inc.
Herring Bank
James F. Hopper
Michael J. Hsu
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Madelyn C. Stanley
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Jennifer Whang



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                      /s/ R. Trent McCotter
                      R. Trent McCotter




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     INTEREST AND IDENTITY OF THE AMICUS CURIAE1

     The Separation of Powers Clinic at the Gray Center for the Study

of the Administrative State, located within the Antonin Scalia Law

School at George Mason University, was established during the 2021–22

academic year for the purpose of studying, researching, and raising

awareness of the proper application of the U.S. Constitution’s separation

of powers constraints on the exercise of federal government power. The

Clinic provides students an opportunity to discuss, research, and write

about separation of powers issues in ongoing litigation.

     The Clinic has submitted numerous briefs at the Supreme Court

and other federal courts in cases implicating separation of powers. These

include, as most relevant here, Calcutt v. FDIC, No. 20-4303 (6th Cir.),

cert. filed, No. 22-714; Consumers’ Research v. Consumer Product Safety

Commission, No. 22-40328 (5th Cir.); and American Home Furnishings

Alliance v. U.S. Consumer Product Safety Commission, No. 22-60639 (5th

Cir.), all of which involve questions about the proper remedies for parties



1No counsel for any party has authored this brief in whole or in part, and
no entity or person, aside from amicus curiae and its counsel, made any
monetary contribution intended to fund the preparation or submission of
this brief. All parties have consented to the filing of this brief.

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subject to action by agencies led by officials shielded by removal

protections found to present unconstitutional constraints on the

President’s vested Article II authority over the Executive Branch.

                  SUMMARY OF THE ARGUMENT

     The Supreme Court has held that Article II’s vesting of executive

power in the President, who must “take Care that the Laws be faithfully

executed,” U.S. Const. art. II, § 1, cl. 1; id. § 3, provides the President

with the power to remove most principal executive officers at will, see

Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2191–92, 2197, 2199–2200

(2020); Myers v. United States, 272 U.S. 52, 163–64 (1926). The Court has

also held that Humphrey’s Executor v. United States, 295 U.S. 602 (1935),

established only a narrow exception to that principle “for multimember

expert agencies that do not wield substantial executive power,” a

descriptor the Court applied to the Federal Trade Commission as it was

understood to operate in 1935 when Humphrey’s Executor was issued.

Seila Law, 140 S. Ct. at 2199–2200; see Part I, infra.

     The government does not dispute that a majority of the Directors of

the Federal Deposit Insurance Corporation (“FDIC”) enjoy statutory

removal protections. Under Humphrey’s Executor and Seila Law, those



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protections are constitutional only if the FDIC does not “wield

substantial executive power.” Seila Law, 140 S. Ct. at 2199–2200. But

the FDIC possesses and exercises significant executive powers far beyond

those the Federal Trade Commission (“FTC”) was understood to wield at

the time of Humphrey’s Executor. See Part II, infra. The FDIC can file

civil suits, issue binding regulations, and bring administrative

proceedings seeking crippling damages and other penalties, as relevant

here. The FDIC has not been shy about exercising these powers, which

the   Supreme    Court   has   labeled       as   quintessentially      executive.

Accordingly, the FDIC exercises substantial executive power, and the

Humphrey’s Executor exception to the President’s at-will removal power

cannot apply to any FDIC Directors.

      The Supreme Court’s decision in Collins v. Yellen, 141 S. Ct. 1761

(2021), provides helpful guideposts for the showing required to

demonstrate harm where executive officials—like most of the FDIC

Directors here—both exercise executive power and possess removal

protections. See Part III.A, infra. And recent scholarship, as well as

separate writings by Justices Thomas and Gorsuch, provides further




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guidance on how courts should conceptualize the remedy in such cases.

See Part III.B, infra.

                                ARGUMENT

I.   Humphrey’s Executor Established Only a Narrow Exception
     to the President’s Article II Power to Remove Principal
     Executive Officers.

     Article II vests all executive power in the President and requires

him to “take Care that the Laws be faithfully executed.” U.S. Const. art.

II, § 1, cl. 1; id. § 3. The Supreme Court has held that principal officers

wielding quintessential executive powers typically must be removable at

will by the President. See Seila Law, 140 S. Ct. at 2191–92, 2197, 2199–

2200; Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 492

(2010) (“ ‘[I]f any power whatsoever is in its nature Executive, it is the

power of appointing, overseeing, and controlling those who execute the

laws.’ ”); Jennifer Mascott & John F. Duffy, Executive Decisions After

Arthrex, 2021 Sup. Ct. Rev. 225, 226 (2022) (discussing the Court’s recent

application of the constitutional mandate that presidential and senior

officers supervise executive decisional authority).

     The Supreme Court has recognized a narrow exception under

Humphrey’s Executor for “multimember expert agencies that do not wield



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substantial executive power.” Seila Law, 140 S. Ct. at 2199–2200. This

Court has further confirmed that merely being on a multimember

commission is insufficient to trigger the “Humphrey’s Executor

exception.” Jarkesy v. SEC, 34 F.4th 446, 464 n.19 (5th Cir. 2022).

Rather, the multimember commission must also be “balanced along

partisan lines,” “perform[] legislative and judicial functions,” and be “said

not to exercise any executive power.” Id. (emphasis added).

     The government has never disputed that a majority of the FDIC’s

Board of Directors have statutory protections from at-will removal. See

Burgess Principal Br. 7. Under Humphrey’s Executor and Seila Law,

those removal protections are constitutional only if the FDIC does not

wield executive power. See Seila Law, 140 S. Ct. at 2199–2200

(“substantial executive power”); see also Jarkesy, 34 F.4th at 464 n.19

(“any executive power”).

     As demonstrated next, however, the FDIC wields significant

executive powers, far more than those the Supreme Court understood the

FTC to exercise at the time of Humphrey’s Executor.




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II.   The FDIC Does Not Fall Within the Narrow Humphrey’s
      Executor Exception.

      A.   The Supreme Court’s Understanding of the FTC’s
           Powers in Humphrey’s Executor.

      In issuing its 1935 decision in Humphrey’s Executor, the Supreme

Court described the FTC as largely an advisory body preparing reports

and conducting investigations for the benefit of Congress. See 295 U.S. at

628. The brief of Samuel F. Rathbun, who was Humphrey’s executor,

cited statistics showing that nearly half of the FTC’s entire expenditures

over the prior eight years had been on “investigations undertaken as such

an agent of Congress in aid of legislation.” Br. for Samuel F. Rathbun,

Executor 46 & n.21, Humphrey’s Executor (Mar. 19, 1935) ($4,036,470

spent on such legislative work, out of $9,627,407 total). And the brief of

the United States, while arguing that Myers should control, still

acknowledged the FTC’s primary actions were investigating and issuing

“[r]eports to Congress on special topics.” Br. for United States 24,

Humphrey’s Executor (Apr. 6, 1935).

      The Department of Justice had long held the view that the early

FTC was more akin to a legislative committee than an executive agency.

A 1925 Attorney General Opinion had stated, “A main purpose of the

Federal Trade Commission Act was to enable Congress, through the

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Trade Commission, to obtain full information concerning conditions in

industry to aid it in its duty of enacting legislation,” to the point that “the

Commission was sometimes likened to a Committee of Congress.” Powers

and Duties of the Fed. Trade Comm’n in the Conduct of Investigations, 34

Op. Att’y Gen. 553, 557–58 (1925).

      The    government’s     brief   in      Humphrey’s       Executor     further

acknowledged that the 1935 FTC could not even directly “execute its

orders,” Br. for United States 25, Humphrey’s Executor, and the

Executor’s brief noted that the FTC sometimes served as a chancery

master appointed by a federal court, Br. for Rathbun 43, Humphrey’s

Executor.

      In ultimately holding that the FTC did not wield executive power,

the Court’s opinion in Humphrey’s Executor relied on the same

characteristics of the FTC that the parties had emphasized, i.e., its

legislative and judicial functions. See 295 U.S. at 628. And the Supreme

Court later held in Seila Law that the holding in Humphrey’s Executor

was directly premised on the fact that “the Court viewed the FTC (as it

existed in 1935) as exercising ‘no part of the executive power.’” Seila Law,

140 S. Ct. at 2198.



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     It was not until 1938 that Congress first enacted legislation to

provide the FTC with a limited right to sue in federal court, and those

suits were limited to seeking preliminary injunctions against certain

practices pending agency adjudication. See Pub. L. No. 75-447, § 4, 52

Stat. 111, 115 (1938). In the 1970s, Congress first provided the FTC with

the significant litigation powers it now possesses. See Pub. L. No. 93-637,

§§ 205–06, 88 Stat. 2183, 2200–02 (1975); Pub. L. No. 93-153, § 408(f ), 87

Stat. 576, 592 (1973).

     B.    The FDIC’s Executive Powers Greatly Exceed Those of
           the 1935 FTC.

     The statutory authorities assigned to the FDIC suggest that it

wields significantly more power than the 1935 FTC was understood to

exercise, and those additional powers have executive character. The

FDIC is empowered to issue binding regulations, bring civil suits seeking

substantial   monetary        penalties        and       injunctions,    and        bring

administrative proceedings seeking monetary and other significant

penalties. 12 U.S.C. §§ 1817, 1818, 1828.

     In particular, 12 U.S.C. § 1818(s) and § 1828 authorize the FDIC to

issue regulations controlling a broad swath of U.S. banks and financial

institutions. Section 1817(f) authorizes the FDIC to bring suits against


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corporations for not filing reports in accordance with its regulations.

Section 1818(b)–(c) authorizes the FDIC to issue “cease-and-desist

orders” to prevent individuals or institutions from engaging in particular

actions.

     Section 1818(e) authorizes the FDIC to issue “removal and

prohibition” sanction orders against individuals it finds violated its

banking regulations after conducting administrative proceedings. These

orders prohibit individuals from participating in any manner in the

conduct of the affairs of any financial institution or agency enumerated

in § 1818(e)(7)(A). According to the FDIC’s own figures, between March

1, 2018, and March 1, 2023, the FDIC issued 148 “Order[s] of Prohibition

from Further Participation.”2

     Section 1818(i)(2)—the provision at issue here—authorizes the

FDIC to levy huge civil monetary penalties for violations of applicable

laws and regulations through its administrative proceedings with



2See Federal Deposit Insurance Corporation, Enforcement Decisions and
Orders, https://orders.fdic.gov/s/searchform (under “Issued date
between,” select “March 1, 2018” and “March 1, 2023,” then select
“Stipulated Orders and Written Agreements” under “Order Category”
and “Removal/Prohibition Order” under “Action Type,” then search the
database) (last visited Mar. 20, 2023).

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penalties of up to “$25,000 for each day during which such violation,

practice, or breach continues” for “reckless[]” actions. 12 U.S.C. §

1818(i)(2)(B)(i)(II), (ii)(III) (emphasis added). If the action is committed

“knowingly,” the fine can be up to one million dollars per day. Id. §

1818(i)(2)(C)(i), (D)(i) (emphasis added). Under those provisions,

penalties can quickly reach daunting figures. According to the FDIC’s

own figures, between March 1, 2018, and March 1, 2023, the FDIC

imposed just under $40 million in civil fines, with numerous six- and

seven-figure penalties in specific cases.3

     The FDIC’s significant powers are ones that the Supreme Court has

indicated are executive in nature. For example, Seila Law held that

“seek[ing] daunting monetary penalties against private parties on behalf

of the United States in federal court” is a “quintessentially executive

power” that was “not considered in Humphrey’s Executor” because the

FTC lacked that power at the time. 140 S. Ct. at 2200. Similarly, in

TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), the Court held that



3See Federal Deposit Insurance Corporation, Enforcement Decisions and
Orders, https://orders.fdic.gov/s/searchform (under “Issued date
between,” select “March 1, 2018” and “March 1, 2023,” then search the
database and download and sum results) (last visited Apr. 5, 2023).

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“the choice of how to prioritize and how aggressively to pursue legal

actions against defendants who violate the law falls within the discretion

of the Executive Branch.” Id. at 2207; see Buckley v. Valeo, 424 U.S. 1,

138 (1976) (“A lawsuit is the ultimate remedy for a breach of the law, and

it is to the President . . . that the Constitution entrusts th[is]

responsibility.”). And the Court has held that an agency “empowered to

issue a ‘regulation or order’ … clearly exercises executive power.” Collins

v. Yellen, 141 S. Ct. 1761, 1785–86 (2021); see also Seila Law, 140 S. Ct.

at 2198 n.2 (agency enforcement actions for violations of regulations “are

exercises of—indeed, under our constitutional structure they must be

exercises of—the ‘executive Power’”) (emphasis in original).

     These are all “substantial executive power[s]” wielded by the FDIC

but not by the 1935 FTC. Seila Law, 140 S. Ct. at 2199–2200.

Accordingly, the narrow Humphrey’s Executor exception to at-will

Presidential removal of principal executive officers does not apply here.

III. Collins and Recent Scholarship Provide Guidance on the
     Appropriate Harm and Remedy Frameworks.

     The Supreme Court has not conclusively established the

appropriate test for whether a party has suffered cognizable harm where

an agency enforcement action was issued or assigned by Federal officials


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subject to removal protections that interfere with the President’s Article

II powers, nor has the Court established the appropriate remedy once

harm is shown.

     But the decision in Collins, as well as recent scholarly work,

provides helpful guideposts for determining what suffices as sufficient

harm and how courts should conceptualize the remedy for these

“unconstitutional convergences”—i.e., where executive officials possess

both executive power and removal protections.

     A.    Collins Noted Several Helpful Distinctions for When a
           Sufficient Nexus Has Been Demonstrated.

     Collins itself provided several hints about what factors are relevant

to a finding that removal protections caused a cognizable harm.

     Officials Who “Adopted” the Challenged Action. Most

significantly here, Collins seems to have drawn a distinction between

officials who had taken a first-hand role in “adopt[ing]” the challenged

action, and those subsequent officials who merely “supervised the

implementation” of the already-in-motion challenged action. 141 S. Ct. at

1787, 1789 (emphasis in original). Although Collins did not elaborate on

this possible distinction, it could be that removal powers are more likely

to play a role where an official or group of officials initiate an action,


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thereby identifying them as the sole individuals responsible for setting

in motion the subsequent chain of events—and accordingly the people

most responsible if the President is displeased with those actions. This

also seems to have played a role in Seila Law, where the CFPB Director

himself had ordered Seila Law to comply with the agency’s demand. See

CFPB v. Seila Law, LLC, No. 8:17-cv-1081, 2017 WL 6536586, at *1 (C.D.

Cal. Aug. 25, 2017).

     It is significant, therefore, that the FDIC Directors, the majority of

whom enjoys removal protections, are the same ones who issued the first

order of removal and prohibition against Burgess and then directly

assigned the ALJ responsible for conducting the second enforcement

proceeding against him, ROA.29–30, making them the individuals

responsible for the challenged actions. Given that the power to “seek[]

daunting monetary penalties against private parties on behalf of the

United States” is a “quintessentially executive power” that was “not

considered in Humphrey’s Executor,” the officials who approve such a

central executive power should be subject to the President’s control. 140

S. Ct. at 2200. This fact favors finding a nexus between Directors’

removal protections and their challenged actions here.



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     Moreover, to the extent the FDIC ALJ herself is viewed as the

official “adopting” the challenged action, that would only worsen the

situation because, as Burgess explains, FDIC ALJs not only possess

executive powers but are subject to numerous layers of removal

protections, which would require the concurrence of at least nine

individuals who are themselves tenure protected. See Burgess Principal

Br. 10.

     Collins Did Not Establish a Nearly Insurmountable Test.

Collins also provided several especially clear-cut examples where a party

would demonstrate harm from an improper removal restriction. 141 S.

Ct. at 1789. This Court’s subsequent decision in Community Financial

Services Ass’n of America v. CFPB, 51 F.4th 616, 632 (5th Cir. 2022),

overread that list of examples as dictating that such clear-cut evidence

be definitively established to show harm.

     But Community Financial addressed only the scenario of removing

a single “unconstitutionally insulated actor,” i.e., the CFPB Director. Id.

It did not address a multi-headed agency like the FDIC, where the

inherent nature of multi-lateral deliberations, often in secret, render it

“neither possible nor productive to inquire whether the [official] in



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question might have influenced the views of his or her colleagues during

the decision-making process,” and thus harm is presumed. Williams v.

Pennsylvania, 579 U.S. 1, 14–15 (2016); cf. Nguyen v. United States, 539

U.S. 69, 83 (2003) (remanding, without requiring a showing of harm or

prejudice, for “fresh consideration” by a full Article III circuit panel, after

an Article IV judge had sat on the panel below, in violation of a statute).

      Moreover, there is good reason not to extend Community

Financial’s strict evidentiary burden to multi-headed agencies, as that

test is inconsistent with Collins itself. There, the Supreme Court

remanded to this Court to determine whether there was sufficient

evidence of harm, as “[t]he possibility that the unconstitutional

restriction on the President’s power to remove a Director of the FHFA

could have such an effect [of inflicting compensable harm] cannot be ruled

out.” 141 S. Ct. at 1789 (emphases added). If the type of extraordinary

evidence demanded by Community Financial had been required, the

Supreme Court would not have bothered remanding Collins, as the

challengers had provided only sparse evidence of prejudice at that point.

At the very least, Collins indicates an appellate court should remand for




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further factfinding on the issue of harm, rather than reject the challenge

outright.

     Effectively foreclosing relief via an evidentiary threshold rarely

satisfied would contravene the Supreme Court’s oft-stated goal of

“creat[ing] incentives to raise” challenges to unconstitutional provisions.

Lucia v. SEC, 138 S. Ct. 2044, 2055 n.5 (2018); see Freytag v. Comm’r of

Internal Revenue, 501 U.S. 868, 879 (1991). Parties will not likely bother

raising such challenges when the evidentiary threshold is set so high.

The effects of this stagnation of law will extend far beyond any one

dispute. Secure in the knowledge that removal protections are essentially

unchallengeable, officers will be even less accountable to the President,

and Congress may be incentivized to create more such provisions across

the bureaucracy.

     Prospective v. Retrospective Relief. The Supreme Court in

Collins also indicated that it is relevant whether the challengers seek

relief that is prospective, as opposed to purely retrospective. The opinion

distinguished the two and remanded for consideration of retrospective

relief while noting there was no possibility of prospective relief, given




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intervening agency actions. 141 S. Ct. at 1779–80. Here, there is no

debate that Burgess seeks relief that is exclusively prospective.

     To be sure, this Court’s opinion in Community Financial concluded

that Collins “did not rest on a distinction between prospective and

retrospective relief.” Cmty. Fin., 51 F.4th at 631. But that is an unduly

narrow view. Collins not only distinguished the two, but also

acknowledged that the unavailability of one did not necessarily preclude

the other. 141 S. Ct. at 1787. Moreover, this Court, sitting en banc,

distinguished Collins on this same basis. See Cochran v. SEC, 20 F.4th

194, 210 n.16 (5th Cir. 2021) (en banc), cert. granted, 142 S. Ct. 2707

(2022).4

     Further, it would be especially unusual to effectively foreclose the

availability of prospective relief, as Community Financial purported to

do, given the historic availability of injunctive relief against ongoing



4The Solicitor General’s own brief in Collins noted the same distinction.
See Reply & Resp. Br. of the U.S. at 28 & n.*, Collins, 2020 WL 6322317
(Oct. 23, 2020) (arguing that “equitable principles bar[red plaintiffs’]
belated attempt to unravel a multibillion-dollar contract agreed to by
Treasury” (a form of retrospective relief), but this rationale did “not
undercut” the portion of the lower-court “judgment awarding a
declaration that FHFA’s structure violates the Constitution” (a form of
prospective relief)).


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constitutional violations. See, e.g., Armstrong v. Exceptional Child Ctr.,

Inc., 575 U.S. 320, 327 (2015). This “negative injunction remedy” is a

“‘standard tool of equity’ that federal courts have authority to entertain

under their traditional equitable jurisdiction.” Whole Woman’s Health v.

Jackson, 142 S. Ct. 522, 540 (2021) (Thomas, J., concurring in part)

(citation omitted). And this power generally extends “to violations of

federal law by federal officials.” Armstrong, 575 U.S. at 327.

     Thus, although courts lack “power to create remedies previously

unknown to equity jurisprudence,” Grupo Mexicano de Desarrollo, S.A. v.

Alliance Bond Fund, Inc., 527 U.S. 308, 332 (1999), the negative

injunction has roots in American equity dating back to the Judiciary Act

of 1789, see § 11, 1 Stat. 78; Whole Woman’s Health, 142 S. Ct. at 540

(Thomas, J., concurring in part), which itself “reflects a long history of

judicial review of illegal executive action, tracing back to England,”

Armstrong, 575 U.S. at 327.

     Because the high evidentiary barrier in Community Financial risks

foreclosing the historic availability of prospective relief, this Court should

decline to extend Community Financial to Burgess’s challenge here.




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       B.   Scholarly   Research  Demonstrates     that                            the
            Appropriate Remedy May Take Several Forms.

       This case also implicates a developing area of law about the

appropriate remedy for what scholars have titled “unconstitutional

combinations” or “convergences,” where two statutory provisions

independently would be constitutional under judicial precedent but are

unconstitutional when operating together.

       “In some instances, a constitutional injury arises as a result of two

or more statutory provisions operating together.” Seila Law, 140 S. Ct. at

2222 (Thomas, J., concurring in part and dissenting in part); see id. at

2223 (referring to these situations as unconstitutional “convergence[s]”);

Brian Charles Lea, Situational Severability, 103 Va. L. Rev. 735, 776

(2017) (same); William Baude, Severability First Principles, 109 Va. L.

Rev.        ___          (forthcoming           2023),          available            at

https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4064156

(manuscript       last   revised   Mar.       30,   2022)      (discussing        these

unconstitutional “combinations”).

       The Supreme Court has not conclusively resolved the appropriate

remedy for unconstitutional convergences. But Justices Thomas and

Gorsuch have suggested that the appropriate remedy is not to “sever”


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either statutory provision (i.e., the removal protections or the executive

powers) “based on nothing more than speculation as to what the

Legislature would have preferred,” but instead to deny the agency’s

attempt to engage in executive action in the particular case under

consideration. See Seila Law, 140 S. Ct. at 2219–24 (Thomas, J.,

concurring in part and dissenting in part); see also Lea, supra, at 747

(“Because a legislative body usually will not have foreseen the potential

problems with its handiwork, it will not have formed an intent regarding

severability in the event of partial invalidity.”).

      Justices Thomas and Gorsuch explained that “[s]evering” one of the

relevant statutory provisions would be inappropriate because it would

excise a portion of a statute across the board, including for other parties

and controversies not currently before the court. 140 S. Ct. at 2219–20

(Thomas, J., concurring in part and dissenting in part). That approach

would be inconsistent with the traditional judicial role. “‘[E]arly

American courts did not have a severability doctrine’”; “[i]f a statute was

unconstitutional, the court would just decline to enforce the statute in

the case before it.” Id. at 2219 (citing authorities); see also John Harrison,

Severability, Remedies, and Constitutional Adjudication, 83 Geo. Wash.



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L. Rev. 56, 82 (2014) (“Standard accounts of the Anglo-American law of

remedies do not include the invalidation of statutes among the kinds of

remedial orders that courts enter.”). Here, this form of relief would

suggest that the Court simply bar the ongoing enforcement action.

     Several scholars have also written on the topic of unconstitutional

combinations or convergences. See generally Baude, supra; Lea, supra.

Professor Baude, for example, states the “general approach” proposed by

Justice Thomas “is quite right,” Baude, supra, at 24, although Baude

offers     some    refinements    and      alternative     approaches      that   he

acknowledges may fit more or less appropriately based on the particulars

of a given case, id. at 40–54. Brian Lea has argued for a slightly broader

inquiry that looks to “whatever guidance [the court] can find concerning

the legislature’s likely intent as to which provision or provisions the court

should ignore in adjudicating the case before it.” Lea, supra, at 782. This

includes “the text, structure, legislative history, and purpose of the

statutory scheme.” Id. at 781.

     Baude and Lea agree that the goal should be to reduce judicial

subjectivity when deciding which of the two “converging” provisions

should be enforced. Baude, supra, at 3, 42; Lea, supra, at 782. For



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example, Baude and Lea both note that Congress can expressly include

a fallback provision     stating “whether [Congress] would prefer

Requirement A to prevail over Requirement B, if only one can prevail.”

Baude, supra, at 41; Lea, supra, at 780; see, e.g., Bowsher v. Synar, 478

U.S. 714, 735–36 (1986) (applying express statutory fallback provision

after finding separation of powers violation in Comptroller General’s

authority).

     Professor Baude also contends that a court may look to other

interpretive canons. One such canon is the principle that, where an

amendment renders an otherwise valid statute unconstitutional, the

amendment should be disregarded. See Baude, supra, at 42–43. That is

what the Supreme Court did in Barr v. American Ass’n of Political

Consultants, 140 S. Ct. 2335, 2353–54 (2020), where an amendment to a

particular provision rendered the entirety unconstitutional under the

First Amendment.

     Applying that principle here would favor giving effect to the FDIC’s

undisputed protections from at-will removal by the President, which

were added in 1933, see Banking Act of 1933, Pub. L. No. 73-66, ch. 89,

48 Stat. 162, 168 (1933), rather than its prohibition powers, which were



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added in 1966 along with a score of other executive powers, see Financial

Institutions Supervisory Act of 1966, Pub. L. No. 89-695, § 101, 80 Stat.

1028, 1030–32 (1966).

     That approach furthers the interest in avoiding subjectivity and

focusing on textual evidence of congressional intent that both Lea and

Baude emphasize. It is also consistent with the historical evidence of

Congress’s intent. Congress clearly has been willing to create an FDIC

with removal protections and no prohibition powers, because that is the

way Congress originally established the agency. By contrast, there is no

historical precedent for an FDIC with no removal protections but broad

prohibition   and      enforcement   powers.     Eliminating      the    removal

protections while leaving its enforcement powers intact would thus

create an entity that Congress has never envisioned.5




5 By contrast, the “last in time rule” should not save the FDIC’s
enforcement powers. See Baude, supra, at 44 (describing the principle
that, “if one can’t have both [provisions], one is supposed to prefer the one
adopted later”). That principle is in tension with the strong presumption
against implied repeal that the Court has applied for more than a
century. See id. (citing Barr, 140 S. Ct. 2335; Frost v. Corp. Comm’n, 278
U.S. 515 (1929); Truax v. Corrigan, 257 U.S. 912 (1921); and Eberle v.
Michigan, 232 U.S. 700 (1914)).


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                            CONCLUSION

     The Court should reverse the District Court’s denial of injunctive

relief on Counts 1 and 2 of Burgess’s complaint.




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April 5, 2023                            Respectfully submitted,

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     I hereby certify that on April 5, 2023, an electronic copy of the

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     I certify that this brief complies with the typeface requirements of

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